  Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 1 of 7 PageID #: 33




                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 INGEVITY CORPORATION and                       )
 INGEVITY SOUTH CAROLINA, LLC,                  )
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      )    C.A. No. 18-1391-UNA
                                                )
 BASF CORPORATION,                              )
                                                )
                Defendant.                      )


        MOTION AND PROPOSED ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, counsel moves for the

admission pro hac vice of the following attorneys to represent Plaintiffs Ingevity Corporation

and Ingevity South Carolina, LLC, in this matter:

       Jeffrey T. Thomas          Frederick S. Chung          Brian M. Buroker
       Spencer W. Ririe           GIBSON, DUNN                GIBSON, DUNN
       Eric T. Syu                 & CRUTCHER LLP              & CRUTCHER LLP
       GIBSON, DUNN               1881 Page Mill Road         1050 Connecticut Avenue, N.W.
        & CRUTCHER LLP            Palo Alto, CA 94304         Washington, DC 20036
       3161 Michelson Dr.
       Irvine, CA 92612


                                                      /s/ Karen E. Keller
                                                      Karen E. Keller (No. 4489)
                                                      Nathan R. Hoeschen (No. 6232)
                                                      SHAW KELLER LLP
                                                      I.M. Pei Building
                                                      1105 North Market Street, 12th Floor
OF COUNSEL:                                           Wilmington, DE 19801
Jeffrey T. Thomas                                     (302) 298-0700
Spencer W. Ririe                                      kkeller@shawkeller.com
Eric T. Syu                                           nhoeschen@shawkeller.com
GIBSON, DUNN & CRUTCHER LLP                           Attorneys for Plaintiffs
3161 Michelson Dr.
Irvine, CA 92612
(949) 451-3800
  Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 2 of 7 PageID #: 34




Frederick S. Chung
GIBSON, DUNN & CRUTCHER LLP
1881 Page Mill Road
Palo Alto, CA 94304
(650) 849-5300
Brian M. Buroker
GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036
(202) 955-8500

Dated: September 10, 2018

                      [PROPOSED] ORDER GRANTING MOTION

        IT IS HEREBY ORDERED that counsel’s motion for the admission pro hac vice of Jeffrey

T. Thomas, Spencer W. Ririe, Eric T. Syu, Frederick S. Chung, and Brian M. Buroker is granted.


                                                  United States District Judge
Date:




                                              2
   Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 3 of 7 PageID #: 35




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83 .5, I certify that I am eligible for admission to this Court and

am admitted, practicing and in good standing as a member of the Bar(s) of California, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct that occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court's Local Rules. In accordance with Standing Order for District

Court Fund effective September 1, 2016, I further certify that the annual fee of $25.00 has been

paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted to the

Clerk' s office upon the filing of this motion. ·



Date: July 24, 2018

                                                          n
                                                    3161 Michelson Drive
                                                    Irvine, CA 92612-4412
                                                    Telephone: (949) 451-3800
                                                    Email: jtthomas@gibsondunn.com
Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 4 of 7 PageID #: 36
Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 5 of 7 PageID #: 37
Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 6 of 7 PageID #: 38
  Case 1:18-cv-01391-RGA Document 6 Filed 09/10/18 Page 7 of 7 PageID #: 39




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court and

am admitted, practicing and in good standing as a member of the Bar(s) Virginia, District of

Columbia and U.S. Patent and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction

of this Court for any alleged misconduct that occurs in the preparation or course of this action. I

also certify that I am generally familiar with this Court’s Local Rules. In accordance with

Standing Order for District Court Fund effective September 1, 2016, I further certify that the

annual fee of $25.00 has been paid to the Clerk of Court, or, if not paid previously, the fee

payment will be submitted to the Clerk’s office upon the filing of this motion.



                                                   _________________________
                                                   Brian M. Buroker
                                                   Gibson, Dunn & Crutcher LLP
Date: July 25, 2018                                1050 Connecticut Avenue, N.W.
                                                   Washington, DC 20036
                                                   202-955-8500
                                                   bburoker@gibsondunn.com
